                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF VIRGINIA
                              Roanoke Division

JOHN DOE,

                    Plaintiff,

v.                                               CIVIL ACTION NO. 7:18cv170
                                                 Judge Elizabeth K. Dillon

VIRGINIA POLYTECHNIC INSTITUTE
AND STATE UNIVERSITY, TIMOTHY SANDS,
FRANK SHUSHOK, JR., ENNIS MCCRERY,
CAROLINE GREEN, and KYLE ROSE,

                    Defendants.


                         MOTION TO STAY DISCOVERY

      Defendants, by counsel, pursuant to Rule 26(c) of the Federal Rules of Civil

Procedure move for order staying discovery until Plaintiff has been permitted to

proceed under a pseudonym and Defendants have had the opportunity to file

dispositive motions that, if granted, will dispose of the entire litigation. Defendants

certify that they have conferred with Plaintiff’s counsel and the parties have been

unable to agree to voluntarily stay discovery.

      It is well-settled that district courts have broad discretion to stay discovery

pending resolution of a motion to dismiss. Landis v. N. Am. Co., 299 U.S. 248, 254

(1936). In this particular matter, Plaintiff filed and served a complaint under a

pseudonym without first seeking leave of this Court. Defendants will file motions to

dismiss the entire matter on meritorious grounds once the case is properly before

the Court. Furthermore, Defendants assert that they will work to expediate




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discovery if their motions to dismiss are denied. An order under Rule 26(c)

to stay discovery pending determination of a motion to dismiss is an appropriate

exercise of a court's discretion under the circumstances of this case. See Thigpen v.

United States, 800 F.2d 393, 396–97 (4th Cir. 1986)

      WHEREFORE, Defendants move for an order staying discovery until this

case is properly before the Court and they have had an opportunity to file

dispositive motions to dismiss and otherwise respond to the Complaint.

                                        Respectfully submitted,

                                        VIRGINIA POLYTECHNIC INSTITUTE
                                        AND STATE UNIVERSITY, TIMOTHY
                                        SANDS, FRANK SHUSHOK, JR., ENNIS
                                        MCCRERY, CAROLINE GREEN, and KYLE
                                        ROSE


                                 By:         s/ M. Hudson McClanahan
                                                Counsel for Defendants


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                           CERTIFICATE OF SERVICE
     I hereby certify that, on this 26th day of October, 2018, the foregoing MOTION
TO STAY DISCOVERY was filed electronically with the Clerk of Court using the
CM/ECF system, which will send notification of such filing (NEF), to the following:

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                                            s/ M. Hudson McClanahan
                                               Counsel for Defendants




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